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       UNITED STATES OF AMERICA                                 *                           ;;; ~":..?7t.LT
                                                                *                      ,.          -v";Y JE)"llTY
                    v.                                          *      CRIMINAL     NO. PX=17:0352
                                                                *
      PATRICK NATHAN BROXTON,                                   *      (Conspiracy to Distribute and Possess
       a/kla "Nique," and                                       *      with Intent to Distribute Controlled
      CHARLES BENJAMIN STEWART,                       JR.,      *      Substances, 21 U.S.c. ~ 846; Possession
       a/kla "Chaz,"                                            *      with Intent to Distribute and
       a/kla "Lit' Charles,"                                    *      Distribution of Controlled Substances,
       a/kla "C,"                                               *      21 U.S.c. ~ 841(a); Possession of
                                                                *      Firearm iii Furtherance of a Drug
                              Defendants                        *      Trafficking Crime, 18 U.S.c. ~ 924(c);
                                                                *      Felon in Possession of a Firearm,
                                                                *      18 U.S.c. ~ 922(g)(I); Aiding and
                                                                *      Abetting, 18 U.S.c. ~ 2; Forfeiture,
                                                                *      21 U.S.c. ~ 853, 18 U.S.c. ~ 924(d);
                                                                *      28 U.S.c. ~ 2461(c))
                                                                *
                                                             *******
                                            SUPERSEDING         INDICTMENT

                                                      COUNT ONE
         (Conspiracy          to Distribute and Possess with Intent to Distribute Controlled         Substances)

                  The Grand Jury for the District of Maryland charges that:

                                                     The Conspiracy

                  I.        Begitming at least in or about June 2016 and continuing through in or about June

     2017, in the District of Maryland and elsewhere, the defendants,

                                          PATRICK NATHAN BROXTON,
                                                 a/kla "Nique," and
                                       CHARLES BENJAMIN STEWART, JR.,
                                                    a/k/a "Chaz,"
                                                a/kla "LiP Charles,"
                                                      a/k/a "C,"
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did knowingly combine, conspire, confederate, and agree with cach other and others, known and

unknown to the Grand Jury, to distribute and possess with the intent to distribute (i) 100 !,'Tamsor

more of a mixture or substance containing a detectable amount of heroin, and (ii) a quantity of a

mixture and substance containing a detectable amount of cocaine, a Schedule 1Icontrolled

substance, all in violation of21 U.S.c.     S 841.
        2.         With regard to the defendants,

                                PATRICK NATHAN BROXTON,
                                       a/kla "Nique," and
                              CHARLES BENJAMIN STEWART, JR.,
                                          a/kla "Chaz,"
                                      a/kla "LiI' Charles,"
                                            a/kla "C,"

the amount involved in the conspiracy attributable to them as a result of their own conduct, and

the conduct of other conspirators reasonably foreseeable to them, is (i) 100 grams or more of a

mixture or substance containing a detectable amount of heroin, in violation of 21 U.S.C.

S 841 (b)(l)(B)(ii),   and (ii) a quantity ofa mixture and substance containing a detectable amount

of cocaine, a Schedule II controlled substance, in violation of21 U.S.C.    S 841 (b)(l)(C).


21 U.S.c.    S   846




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                                             COUNT TWO
                                (Distribution of Controlled Substances)

         The Grand Jury for the District of Maryland further charges that:

         On or about October 28,2016, in the District of Maryland, the defendant,

                              CHARLES BENJAMIN STEWART, JR.,
                                         a/k/a "Chaz,"
                                     a/k/a "Lil' Charles,"
                                           a/k/a "C,"

did knowingly and intentionally distribute a quantity of a mixture and substance containing a

detectable amount of heroin, a Schedule 1 controlled substance.




21 U.S.c.    SS 841(a)(I)   & (b)(I)(C)
18   u.s.c. S 2




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                                            COUNT THREE
                               (Distribution of Controlled Substances)

       The Grand Jury for the District of Maryland further charges that:

       On or about December 7,2016, in the District of Maryland, the defendant,

                             CHARLES      BENJAMIN STEWART,         JR.,
                                             a/k/a "Chaz,"
                                         a/k/a "LiP Charles,"
                                               a/k/a "C,"

did knowingly and intentionally distribute a quantity of a mixture and substance containing a

detectable amount of heroin, a Schedule I controlled substance.




21 U.S.C.   SS 841(a)(l)   & (b)(I)(C)
18 U.S.C.   S2




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                                            COUNT FOUR
                               (Distribution of Controlled Substances)

       The Grand Jury for the District of Maryland further charges that:

       On or about February 10, 2017, in the District of Maryland, the defendant,

                             CHARLES      BENJAMIN STEWART, JR.,
                                             a1k/a "Chaz,"
                                         a/k/a "LiP Charles,"
                                               a/k/a "C,"

did knowingly and intentionally distribute a quantity of a mixture and substance containing a

detectable amount of heroin, a Schedule 1controlled substance.




21 U.S.C.   SS 841(a)(l)   & (b)(I)(C)
18 U.S.c.   S2




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                                          COUNT FIVE
                            (Distribution of Controlled Substances)

       The Grand Jury for the District of Maryland further charges that:

       On or about May 4, 2017, in the District of Maryland, the defendant,

                          CHARLES       BENJAMIN STEWART,         JR.,
                                          a/k/a "Chaz,"
                                      a/k/a "LiP Charles,"
                                            a/k/a "C,"

did knowingly and intentionally distribute a quantity of a mixture and substance containing a

detectable amount of heroin, a Schedule I controlled substance.




21 U.S.c. ~~ 841(a)(I) & (b)(1)(C)
18 U.S.C. ~ 2




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                                         COUNT SIX
                 (Possession with Intent to Distribute Controlled    Substances)

       The Grand Jury for the District of Maryland further charges that:

       On or about July 6, 2017, in the District of Maryland, the defendant,

                               PATRICK     NATHAN BROXTON,
                                         a/kJa "Nique,"

knowingly and intentionally possessed with intent to distribute a quantity of a mixture and

substance containing a detectable amount of heroin, a Schedule I controlled substance.




21 U.S.C. ~~ 841 (a)(I) & (b)(I)(C)
18 U.S.C. ~ 2




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                                         COUNT SEVEN
               (Possession of Firearm in Furtherance of a Drug Trafficking      Crime)

       The Grand Jury for the District of Maryland further charges that:

        On or about July 6,2017, in the District of Maryland, the defendant,

                                 PATRICK NATHAN BROXTON,
                                        a/kJa "Nique,"

did knowingly possess a firearm, that is, a Smith & Wesson, Model SD9VE, 9xl9 millimeter

caliber semi-automatic pistol, bearing serial number HFC5576, in furtherance of a drug

trafficking crime for which he may be prosecuted in a court of the United States, that is,

possession with intent to distribute controlled substances, in violation of 21 U.S.c.   S 841 (a)( I),
as charged in Count Six of this Superseding Indictment and incorporated here.




18 U.S.c.    S 924(c)(I)(A)(i)




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                                       COUNT EIGHT
                              (Felon in Possession of a Firearm)

       The Grand Jury for the District of Maryland further charges that:

       On or about July 6,2017, in the District of Maryland, the defendant,

                              PATRICK NATHAN BROXTON,
                                     a/k1a "Nique,"

having been convicted of a crime punishable by imprisonment for a term exceeding one year,

did knowingly possess, in and affecting commerce, a firearm, that is, a Smith & Wesson, Model

SD9VE, 9xl9 millimeter caliber semi-automatic pistol, bearing serial number HFC5576.




18 U.S.C.   S 922(g)(l)




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                                             COUNT NINE
                  (Possession with Intent to Distribute Controlled Substances)

       The Grand Jury for the District of Maryland further charges that:

       On or about July 6, 2017, in the District of Maryland, the defendant,

                              CHARLES BENJAMIN STEWART, JR.,
                                         a/k/a "Chaz,"
                                     a/k/a "Lil' Charles,"
                                           a/k/a "C,"

knowingly and intentionally possessed with intent to distribute a quantity of a mixture and

substance containing (i) 100 grams or more of a mixture or substance containing a detectable

amount of heroin, (ii) a mixture and substance containing a detectable amount of cocaine, a

Schedule II controlled substance, and (iii) a mixture and substance containing a detectable

amount of cocaine base, a Schedule II controlled substance.




21 U.S.C.   SS 841(a)(l),   (b)(l)(B)(ii) & (b)(I)(C)
18 U.S.c.   S2




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                                        COUNT TEN
             (Possession of Firearm in Furtherance of a Drug Trafficking          Crime)

       The Grand Jury for the District of Maryland further charges that:

       On or about July 6,2017, in the District of Maryland, the defendant,

                             CHARLES     BENJAMIN STEWART,             JR.,
                                           a/kla "Chaz,"
                                       a/kla "Lit' Charles,"
                                             a/kla "C,"

did knowingly possess a loaded firearm, that is, a Glock, Model 27,.40 S&W caliber semi.

automatic pistol, bearing serial number LHH224, in furtherance of a drug trafficking crime for

which he may be prosecuted in a court of the United States, that is, possession with intent to

distribute controlled substances, in violation of21   u.s.c.   9 841(a)(l), as charged in Count Nine

of this Superseding Indictment and incorporated here.




18 u.s.c. 9924(c)(l)(A)(i)




                                                 II
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                                      COUNT ELEVEN
                               (Felon in Possession of Firearm)

       The Grand Jury for the District of Maryland further charges that:

       On or about July 6,2017, in the District of Maryland, the defendant,

                          CHARLES BENJAMIN STEWART, JR.,
                                     a/k/a "Chaz,"
                                 a/k/a "Lil' Charles,"
                                       a/k/a "C,"

having been convicted of a crime punishable by imprisonment for a term exceeding one year,

did knowingly possess, in and affecting commerce, a loaded firearm, that is, a Glock, Model 27,

.40 S&W caliber semi-automatic pistol, bearing serial number LHH224.




18 U.S.C. ~ 922(g)(I)




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                                      COUNT TWELVE
                               (Felon in Possession of Firearms)

       The Grand Jury for the District of Maryland further charges that:

       On or about July 6, 2017, in the District of Maryland, the defendant,

                          CHARLES BENJAMIN STEWART, JR.,
                                     a/k/a "Chaz,"
                                 a/k/a "LiP Charles,"
                                       a/k/a "C,"

having been convicted of a crime punishable by imprisonment for a term exceeding one year,

did knowingly possess, in and affecting commerce, loaded firearms, that is: (i) a Bee Miller Inc.

(Hi-Point), Model 09 .9 millimeter luger caliber semi-automatic pistol, bearing serial number

P 1230 142; and (ii) a Mossberg, Model 590, 12 gauge pump-action firearm, bearing serial

number T542416.




18 U.S.C.   S 922(g)(I)




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                                      FORFEITURE         ALLEGATION

        The Grand Jury for the District of Maryland further finds that:

        I.       Pursuant to Rule 32.2, Fed. R. Crim. P., notice is hereby given to the defendants

that the United States will seek forfeiture as part of any sentence in accordance with 21 U.S.C.

S 853,18     U.S.C.   S 924(d),   and 28 U.S.c.   S 2461(c),   in the event of the defendants' convictions

under Counts One through Twelve of this Superseding Indictment.

                                            Nareotics Forfeiture

        2.       Pursuant to 21 U.S.C.      S 853(a),   upon conviction of an offense in violation of the

Controlled Substances Act, as alleged in Counts One through Six and Nine of this Superseding

Indictment, the defendants,

                                       PATRICK NATHAN BROXTON,
                                             a/k/a "Nique," and
                                    CHARLES BENJAMIN STEWART, JR.,
                                                a/k/a "Chaz,"
                                            a/k/a "Lil' Charles,"
                                                        a/kJa "C,"

shall forfeit to the United States of America:

                 a.        any property constituting, or derived from, any proceeds obtained, directly

                           or indirectly, as the result of such violations; and

                 b.        any property used or intended to be used, in any manner or part, to

                           commit, or to facilitate the commission of, such violations.

        3.       The property to be forfeited by defendant STEWART,              JR. includes, but is not

limited to, the following:

                 a.        1999 Jeep Grand Cherokee (YIN: IJ4GW58S6XC725167);

                 b.        2013 BMW motorcycle (YIN: WBI053402DZLl6964);                  and


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                c.      $39,500 in United States currency.

                                        Firearms Forfeiture

        4.     Pursuant to 18 U.S.C.   S 924(d),   upon conviction of the offenses set forth in

Counts Seven, Eight, Ten, Eleven, and Twelve of this Superseding Indictment, the defendants,

                                  PATRICK NATHAN BROXTON,
                                        a/k/a "Nique," and
                                CHARLES BENJAMIN STEWART, JR.,
                                           a/k/a "Chaz,"
                                       a/k/a "Lil' Charles,"
                                             a/k/a "C,"

shall forfeit to the United States the firearms, arrununition, and firearms-related parts identified

in Counts Seven, Eight, Ten, Eleven, and Twelve and involved in those offenses.

                                          Substitute Assets

        5.     If, as a result of any act or omission of the defendant, any such property subject to

forfeiture:

               a.      cannot be located upon the exercise of due diligence;

               b.      has been transferred or sold to, or deposited with, a third person;

               c.      has been placed beyond the jurisdiction of the Court;

               d.      has been substantially diminished in value; or

               e.      has been commingled with other property which cannot be subdivided

                       without difficulty,




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the United States of America shall be entitled to forfeiture of substitute property, pursuant to

21 U.S.C.    S 853(P).


21 U.S.c.    S 853
18 U.S.C.    S 924(d)
28 u.s.c.    S 2461(c)

                                                ~              J? . 16M (l[f(..J
                                              Robert K. Hur
                                              United States Attorney
A TRUE BILL:


SIGNATURE REDACTED                            Date: October 10, 2018
Foreperson




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